        Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 1 of 12




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
v.                                                )    Case No. CR-22-00218-PRW-2
                                                  )
STOLYNN SHANE STAMBAUGH,                          )
                                                  )
                     Defendant.                   )

                                            ORDER

       Before the Court is Defendant Stolynn Shane Stambaugh’s Motion to Dismiss

Count 3 of the Indictment as Unconstitutional (Dkt. 31) and the United States’ Response

in Opposition (Dkt. 38). Stambaugh seeks to dismiss Count 3—Receipt of a Firearm by a

Person Under Indictment, in violation of 18 U.S.C. § 922(n)—on grounds that § 922(n), as

applied to him, violates the Second Amendment to the United States Constitution. The

motion has been briefed and heard. For the reasons explained below, the Court GRANTS

Stambaugh’s motion (Dkt. 31).

                                        Background

       On June 17, 2021, the State of Oklahoma charged Stambaugh with felony larceny,

alleging that he stole tools out of the back of a pickup truck. Stambaugh was released on

bond while awaiting trial on that charge.

       While out on bond, Stambaugh and another man allegedly stole a pistol from a gun

store. Because he had stolen the pistol from the holder of a federal license to sell firearms,

the United States charged Stambaugh with stealing the gun from a federal licensee. The


                                              1
          Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 2 of 12




United States also charged Stambaugh with violating 18 U.S.C. § 922(n), which provides

that “[i]t shall be unlawful for any person who is under indictment for a crime punishable

by imprisonment for a term exceeding one year to . . . receive any firearm or ammunition

which has been shipped or transported in interstate or foreign commerce.”

         The United States argued that Stambaugh should be detained pending his trial on

these federal charges, but a magistrate judge disagreed, concluding that the United States

had failed to establish that, among other things, “the nature and seriousness of the danger

to any person or the community that would be posed by [Stambaugh’s] release” warranted

detention. 1 Stambaugh was thus released on bond.

         Stambaugh argues that § 922(n) is unconstitutional as applied to him, relying on

New York State Rifle & Pistol Ass’n, Inc. v. Bruen. 2 In Stambaugh’s view, the mere fact

that he has been indicted for a non-violent felony cannot deprive him of his Second

Amendment right to receive a firearm. But in the United States’ view, those indicted for

felonies are categorically “non-law-abiding and dangerous” persons who can not only be

stripped of their Second Amendment right to receive a firearm, but also criminally

prosecuted and imprisoned for such receipt.

                                      Legal Standard



1
  18 U.S.C. § 3142(g)(4) (“The judicial officer shall, in determining whether there are
conditions of release that will reasonably assure the appearance of the person as required
and the safety of any other person and the community, take into account . . . the nature and
seriousness of the danger to any person or the community that would be posed by the
person’s release.”).
2
    142 S. Ct. 2111 (2022).

                                              2
           Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 3 of 12




          The Second Amendment to the United States Constitution protects “the right of the

people to keep and bear Arms.” 3 Recognizing that the “central component” of this right is

individual self-defense, 4 the Supreme Court has held that the Second Amendment protects

“the right of an ordinary, law-abiding citizen to possess a handgun in the home for self-

defense,” 5 as well as the right to carry a handgun for self-defense outside the home. 6

          When the government seeks to enforce a law that burdens the exercise of this right,

the Supreme Court says that challenges to such laws should be analyzed as follows:

          When the Second Amendment’s plain text covers an individual’s conduct,
          the Constitution presumptively protects that conduct. The government must
          then justify its regulation by demonstrating that it is consistent with the
          Nation’s historical tradition of firearm regulation. Only then may a court
          conclude that the individual’s conduct falls outside the Second Amendment’s
          “unqualified command.” 7

This framework thus requires courts to “assess whether modern firearms regulations are

consistent with the Second Amendment’s text and historical understanding” by analogical

reasoning. 8 “[A]nalogical reasoning requires only that the government identify a well-

established and representative historical analogue, not a historical twin. So even if a

modern-day regulation is not a dead ringer for historical precursors, it still may be




3
    U.S. Const. amend. II.
4
    D.C. v. Heller, 554 U.S. 570, 599 (2008).
5
    Bruen, 142 S. Ct. at 2122.
6
    Id.
7
    Id. at 2129–30.
8
    Id. at 2131.

                                                3
           Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 4 of 12




analogous enough to pass constitutional muster.” 9 A “central consideration” is “whether

modern and historical regulations impose a comparable burden on the right of armed self-

defense and whether that burden is comparably justified.” 10 And since “[c]onstitutional

rights are enshrined with the scope they were understood to have when the people adopted

them,” the government must identify a historical analogue in existence near the time the

Second Amendment was adopted in 1791. 11

                                           Discussion

         Applying Bruen’s framework to this case, the Court will consider whether the

Second Amendment’s plain text covers Stambaugh’s conduct and whether, as applied to

Stambaugh, § 922(n) is consistent with the Nation’s historical tradition of firearm

regulation.

      A. The Second Amendment’s Plain Text

         The Second Amendment protects the right of “the people” to keep and bear arms.

The Unites States argues that a person under indictment for a felony, like Stambaugh, “is

exactly the kind of non-law-abiding, dangerous person that can be disarmed consistent with

the Second Amendment.” 12 Since persons under indictment for a felony have been




9
    Id. at 2133.
10
     Id. (internal quotations and citations omitted).
11
     Id. at 2136 (quoting Heller, 554 U.S. at 634–35).
12
     Gov.’t’s Resp. (Dkt. 38), at 4.

                                                 4
            Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 5 of 12




“accused of a crime” by a grand jury, which the United States says “provides some due

process,” 13 such persons are not law-abiding citizens and are thus not part of “the people.”

           The problem with this argument, however, is that neither Bruen nor Heller go this

far. To be sure, Bruen called the petitioners “two ordinary, law-abiding, adult citizens,”

and in Heller the Court recognized that nothing in the opinion “should be taken to cast

doubt on longstanding prohibitions on the possession of firearms by felons and the mentally

ill,” but neither decision explicitly nor implicitly removes those merely accused of a felony

by a grand jury from “the people” entitled to the protection of the Second Amendment.

Indeed, when the bedrock principle of our system of criminal justice is that those accused

of crimes are innocent until proven guilty, it should go without saying that a person indicted

for a felony is not a felon. And categorically deeming those indicted for felonies “non-law-

abiding and dangerous”—as the United States urges—is at odds not only with the

presumption of innocence, but also with our system of pre-trial detention, where judges are

tasked with making individualized determinations of dangerousness. Therefore, as a person

who is presumed to be a law-abiding citizen until proven otherwise at trial, Stambaugh

remains part of “the people” whom the Second Amendment protects.

           Having concluded that Stambaugh is part of “the people,” and because the United

States does not dispute that the handgun at issue is a weapon in “common use” today for

self-defense, the Court turns to whether “the Second Amendment’s plain text covers [his]




13
     Id.
                                               5
            Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 6 of 12




conduct.” 14 The Second Amendment protects the people’s right “to keep and bear arms.”

The United States does not dispute that the Second Amendment’s plain text covers

receiving a firearm—receipt is the condition precedent to keeping and bearing arms.

Therefore, the Second Amendment’s plain text covers Stambaugh’s receipt of a firearm,

and “the Constitution presumptively protects such conduct.” 15 The burden now falls on the

United States to show that applying § 922(n) to Stambaugh’s receipt of a firearm “is

consistent with this Nation’s historical tradition of firearm regulation.”

      B. Section 922(n) and the Nation’s Historical Tradition of Firearm Regulation

           Bruen explained that “[t]he job of judges is not to resolve historical questions in the

abstract; it is to resolve legal questions presented in particular cases or controversies.” 16

This legal inquiry is guided by “evidentiary principles and default rules,” including the

principle of party presentation. 17 The Court will accordingly decide this legal question

based on the arguments and historical record the parties have compiled in their respective

briefs and during oral argument. 18




14
     Bruen, 142 S. Ct. at 2129.
15
  See United States v. Quiroz, No. PE:22-CR-00104-DC, 2022 WL 4352482, at *4 (W.D.
Tex. Sept. 19, 2022).
16
     Bruen, 142 S. Ct. at 2130 n.6.
17
     Id.
18
   Id. (“[I]n our adversarial system of adjudication, we follow the principle of party
presentation. Courts are thus entitled to decide a case based on the historical record
compiled by the parties.”) (internal quotations and citations omitted).

                                                  6
            Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 7 of 12




           In its brief and during the hearing on Stambaugh’s motion to dismiss Count 3 of the

Indictment, the United States relied solely on surety statutes from the mid-nineteenth

century to show a historical tradition of prohibiting receipt of a firearm by persons under

indictment. Bruen recognized that “in the mid-19th century, many jurisdictions began

adopting surety statutes that required certain individuals to post bond before carrying

weapons in public.” 19 These surety statutes “required any person who was reasonably

likely to ‘breach the peace,’ and who, standing accused, could not prove a special need for

self-defense, to post a bond before publicly carrying a firearm.” 20 The United States argues

that these historical statutes are sufficiently analogous to today’s § 922(n). For the reasons

that follow, however, the Court is unpersuaded that surety statutes provide a historical

analogue.

           First is the issue of timing. “Constitutional rights are enshrined with the scope they

were understood to have when the people adopted them,” 21 so “the scope of the protection

applicable to the Federal Government and States is pegged to the public understanding of

the right when the Bill of Rights was adopted in 1791.” 22 That is why, as the Court noted

in Bruen, “not all history is created equal.” 23 The Court thus instructed that history long




19
     Id. at 2148.
20
     Id.
21
     Id. at 2136 (quoting Heller, 554 U.S. at 634–35).
22
     Id. at 2137.
23
     Id.

                                                 7
        Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 8 of 12




after 1791 should not be given undue weight when interpreting the scope of the Second

Amendment. 24

       Massachusetts enacted the first surety statute in 1836, 25 nearly half a century after

the Second Amendment was adopted in 1791. 26 That statute provided that

       [i]f any person shall go armed with a dirk, dagger, sword, pistol, or other
       offensive and dangerous weapon, without reasonable cause to fear an assault
       or other injury, or violence to his person, or to his family or property, he may,
       on complaint of any person having reasonable cause to fear an injury, or
       breach of the peace, be required to find sureties for keeping the peace, for a

24
   “[T]o the extent later history contradicts what the text says, the text controls. . . . Thus,
‘post-ratification adoption or acceptance of laws that are inconsistent with the original
meaning of the constitutional text obviously cannot overcome or alter that text.” Id. at 2137
(citing Heller, 670 F.3d at 1274 n.6).
25
   At the hearing, the United States also pointed to a 1759 New Hampshire law that it
claimed was a surety statute. This New Hampshire law, however, operated differently than
laws such as the surety statute in Massachusetts. The 1759 law permitted justices of the
peace to arrest “all affrayers, rioters, disturbers or breakers of the peace, or any other who
shall go armed offensively.” Laws of His Majesty’s Province of New-Hampshire in New
England 1 (1759). Then, after a person was arrested for this crime, that person could be
released from prison after posting a surety, and the “arms or weapons so used by the
offender, to be taken away, which shall be forfeited and sold for his Majesty’s use.” Id. at
2 (emphasis added). This backward-looking law, which punished persons who had already
gone “armed offensively” and allowed for forfeiture of the weapon used in that crime, is
distinct from forward-looking surety statutes that were based on a “reasonable cause to fear
an injury, or breach of the peace” and allowed persons to post a bond and continue carrying
a firearm. As the Supreme Court noted in Bruen, the New Hampshire law “merely codified
the existing common-law offense of bearing arms to terrorize the people.” Bruen, 142 S.
Ct. at 2143. Therefore, the New Hampshire law isn’t analogous to the Massachusetts surety
statute enacted in 1836, much less a historical analogue to § 922(n).
26
   Id. at 2148. It should be noted that in Bruen, the relevant law was a New York statute.
The Second Amendment is applicable to the states through the Fourteenth Amendment,
which was ratified in 1868. Id. at 2138. The Court explained that “the public understanding
of the right to keep in bear arms in 1791 and 1868 was, for all relevant purposes, the same
with respect to public carry.” Id. Therefore, the Court did not address “an ongoing scholarly
debate on whether courts should primarily rely on the prevailing understanding of an
individual right when the Fourteenth Amendment was ratified in 1868 when defining its
right.” Id.

                                               8
           Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 9 of 12




         term not exceeding six months, with the right of appealing as before
         provided. 27

The Court in Bruen added that “[b]etween 1838 and 1871, nine other jurisdictions adopted

variants of the Massachusetts law.” 28 The United States thus rests its argument on laws

enacted between forty-five and eighty years after the Second Amendment was adopted.

But the Court considers this history too far removed from 1791 such that “they do not

provide as much insight into [the Second Amendment’s] original meaning as earlier

sources.” 29 Furthermore, a full eighty years after 1791, only ten of the Nation’s thirty-

seven states 30 had adopted surety statutes. 31

         Timing and lack of widespread adoption aside, surety statutes are not analogous to

§ 922(n). First, unlike § 922(n), which regulates a person’s right to receive a firearm, the

surety statutes regulated a person’s right to carry a firearm in public. And while the surety

statutes placed a condition on the right to carry a firearm—a condition satisfied by posting

a bond—§ 922(n) operates as a complete deprivation of a person’s right to receive a firearm

by criminalizing and punishing that conduct.



27
     Mass. Rev. Stat., ch. 134, § 16.
28
     Bruen, 142 S. Ct. at 2148.
29
     Id. at 2137.
30
  See Samuel Shipley, List of U.S. States’ Dates of Admission to the Union, Encyclopedia
Britannica (Feb. 11, 2020), https://www.britannica.com/topic/list-of-U-S-states-by-date-
of-admission-to-the-Union-2130026.
31
   Cf. Bruen, 142 S. Ct. at 2138 (“But apart from a handful of late-19th-century
jurisdictions, the historical record compiled by respondents does not demonstrate a
tradition of broadly prohibiting the public carry of commonly used firearms for self-
defense.”).

                                                  9
          Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 10 of 12




         Furthermore, § 922(n) is more restrictive than surety statutes with respect to “the

central component of the Second Amendment right”: individual self-defense. 32 The surety

statutes did not restrict a person from possessing or receiving a firearm, nor did they

prohibit a person from carrying a firearm in public for self-defense—again, a person

accused under a surety law could post a bond and continue to carry their firearm in public.

And the Massachusetts surety law even provided an exception for persons who had “a

reasonable cause to fear an assault or other injury.” 33 In contrast, § 922(n) provides no self-

defense exception, and assuming a person had no firearm at the time of the underlying

indictment, that person could not even acquire a firearm for self-defense in the home.

Surety laws and § 922(n) thus impose qualitatively different burdens on the “central

component” of the Second Amendment right. 34

         Lastly, surety laws and § 922(n) differ in the process provided prior to the burdening

of Second Amendment rights. Surety laws required a specific, individualized finding by a

neutral magistrate of “reasonable cause to fear an injury, or breach of the peace.” 35 This

required a showing of reasonable cause to fear that a person would cause an injury or breach

of the peace with a firearm. 36 Section 922(n), however, requires no such individualized


32
     Id. at 2133 (internal quotations and citations omitted).
33
     Mass. Rev. Stat., ch. 134, § 16.
34
   Bruen, 142 S. Ct. at 2132 (“[W]hether modern and historical regulations impose a
comparable burden on the right of armed self-defense and whether that burden is
comparably justified are central considerations when engaging in an analogical inquiry.”)
(internal quotations omitted).
35
     Mass. Rev. Stat., ch. 134, § 16.
36
     Bruen, 142 S. Ct. at 2148.

                                                10
         Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 11 of 12




finding; an indictment by a grand jury need only show probable cause that an individual

committed a crime, and the crime need not even relate to a firearm. 37 And the accused are

entitled to neither notice of, nor an opportunity to be heard at, grand jury proceedings, so

the accused never has a chance to contest their Second Amendment-rights-depriving status

as an indictee.

         As explained above, surety laws didn’t exist until long after the Second

Amendment’s adoption, and even then, they weren’t widespread enough to serve as a

“historical tradition.” Moreover, surety laws are fundamentally different from § 922(n) in

substance, burden, and process. Bear in mind, the alleged societal problem addressed by §

922(n)—persons under indictment receiving firearms—has existed for the entirety of our

Nation’s existence. If restricting such persons from receiving firearms was part of our

“historical tradition,” some analogue would exist—and likely a close one. Instead, it

appears that our Nation has long dealt with this alleged societal problem through the pre-

trial detention process, where those deemed by a neutral magistrate to pose a threat to

society are detained pending their trial, but only after an adversarial proceeding where the

accused has an opportunity to appear and argue for their release. Recall, Stambaugh has

twice been through such a process and has twice been deemed fit for release on bail pending

trial.



37
  See, e.g., Woolverton v. Multi-Cnty. Grand Jury Oklahoma Cnty., 859 P.2d 1112, 1116
(Okla. Crim App. 1993). For example, counsel for Stambaugh pointed out at the hearing
that, in Oklahoma, a person indicted for altering a postage stamp is subject to § 922(n)’s
prohibition of receiving a firearm. See 21 O.S. §§ 63-1588, 1621.

                                            11
       Case 5:22-cr-00218-PRW Document 58 Filed 11/14/22 Page 12 of 12




                                        Conclusion

       A historical analogue to support constitutional applications of § 922(n) might well

exist, but the United States hasn’t pointed to it. And because it is the United States’ burden

to demonstrate that laws like § 922(n) are “part of the historical tradition that delimits the

outer bounds of the right to keep and bear arms,” that failure is fatal. While the United

States needed not find a “historical twin,” surety laws and § 922(n) are simply not

“analogous enough to pass constitutional muster,” particularly not in a case like this, where

there is nothing in the record to support the United States’ contention that Stambaugh is

categorically a “dangerous person” merely because he was indicted for larceny.

Accordingly, the Court finds that § 922(n) is unconstitutional as applied to Stambaugh and

therefore GRANTS his motion to dismiss Count 3 of the Indictment.

       IT IS SO ORDERED this 14th day of November 2022.




                                             12
